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                          ** NOT FOR PRINTED PUBLICATION **

                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                    BEAUMONT DIVISION

SAMUEL RUIZ WILLIAMS                             §

VS.                                              §                CIVIL ACTION NO. 1:17cv491

WARDEN DALLAS B. JONES                           §

                         ORDER ACCEPTING THE MAGISTRATE
                       JUDGE’S REPORT AND RECOMMENDATION

       Petitioner Samuel Ruiz Williams, a federal prisoner, proceeding pro se, brought this petition

for writ of habeas corpus pursuant to 28 U.S.C. § 2241.

       The court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

Judge, at Beaumont, Texas, for consideration pursuant to applicable laws and orders of this court.

The Magistrate Judge recommends the respondent’s motion for summary judgment be granted and

the above-styled petition be dismissed.

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge filed pursuant to such referral, along with the record and pleadings. No objections

to the Report and Recommendation were filed by the parties.

                                            ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ACCEPTED. It is
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       ORDERED that the respondent’s motion for summary judgment is GRANTED. A final

judgment will be entered in this case in accordance with the Magistrate Judge’s recommendations.



       So Ordered and Signed
       May 5, 2020




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